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                                                                                                                                                      1

       1                TRANSCRIPT                    OF         This Makes an                   illegal    Machine gun
       2         Posted       to       CRS     Firearms                YouTube Channel on                     January 8 2021

       3
       4        MH       MATTHEW RAYMOND HOOVER

       5   MH   All   right       So when         I   did        my     video on Geissele triggers and what                               my

       6        problem was with them                            it    was becoming                pretty clear in the             comment


       7        section that there are a                         lot   of people           that    don t    quite        understand       the ins



       8        and outs          of   a machine gun                     The      biggest thing you need to remember                              is




       9        this video is           sponsored by autokeycard                                com        And     if    you don t    feel



     10         comfortable             ordering those products because                                    you re        afraid   you re


     11         gonna get on some                     sort of          ATF watch            list        you can always order with


     12         discreet      mailing           Just go to your local library                              print off the order form



     13         put a   money              order in there               have       that     bad boy shipped                to your anti        gun

     14         relative      pick         up your package there                           no    list    to worry about



     15         Anyhoo        let      s   talk about            a machinegun                    First things first           I   m not    a


     16         lawyer        I   m not        giving legal advice                     I   m not         offering       legal advice       and   if




     17         you take          legal advice          from           me        you re     stealing



     18         Second        off      I   m an   SOT            manufacturer                I     can    legally manufacture



     19         machine guns                   So I ve had a              lot     of conversations                 with the       ATF     That    is




     20         a   far cry from being                an expert                  You   also need to remember the                          ATF


     21         does not form laws                     They are there                  to enforce            laws using their opinion



     22         So what       I    might say in a video today                              by the time         I   upload this video



     23         their opinion              may change and                   it   could be          totally   different



     24         The    law    is       after   1986         if    you re not an             SOT          holder         law enforcement          or



     25         military      you cannot possess a machinegun                                            manufactured             after   1986


     26         So    they have put in their opinion what exactly a machinegun                                                       is   et
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                                                                                                                                                                          2

       1        cetera          et cetera              et cetera               The best                 I   can gather            of their opinion           right



       2        now       from having several conversations                                                  with them                this is    what breaks


       3        down        to   a machinegun


       4        Number one a bona                            fide         machinegun                         If   you are        unfamiliar with that



       5        what       that   means                is   you    ll     either      have two                    or three positions                on your


       6        selector          and when you hold down the                                                trigger in         one      of those        positions



       7        the firearm continues                         to fire           All   s   it    has           to   do       is fire    more than once and


       8        it   is   considered              a machinegun                        So       if   you           pull   down on          the trigger and            it




       9        fires      but one time                 that is not             a machinegun


     10         Now        you re probably                   like             But      hey           but          bump        stocks            No bump


     11         stocks are not a machinegun                                         The ATF was encouraged                                          I   don t know


     12         how       heavily                but    encouraged                    to include                  that in their          machinegun           ban


     13         Even though                 it   does not               fit   their   own           definition of               a machinegun               at all    it




     14         got pushed to be a machinegun                                             So bump                   stocks are a machinegun



     15         And you re          probably                 like         How           That s an accessory                                It   s   not possible



     16         to    be a machinegun                          I   m          aware    of this                    So   is    everybody else               in the



     17         country           However                   the President had forced their hand                                                 pushed them          in



     18         a    specific     direction                 What              choice do you really have                                 when        the



     19         CommanderinChief                              is telling            you what                  to   do


     20         Next       is   the third hole                 They            call this            a       third hole         because           typically    on


     21         AR15s            and    AK 47s               there are two pins in the receiver                                                 These are a


     22         part of the fire                 control           A      third hole           would be used                          for your drop        in auto


     23         sear        Even       if    you don t have the                        parts in the firearm to                             be a


     24         machinegun                  if   you have                 that third hole                     that is in fact            a machinegun               by


     25         the       ATF s opinion
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                                                                                                                                                                               3

       1        Next one            drop in auto sear                      Now               this       became a machinegun                                    even


       2        though     it   s not             it   cannot     fire     projectiles in                       any way               shape or form


       3        Just having a dropin auto sear                                         with the              ATF s          opinion              is   in fact             a


       4        machinegun               They decided                    this     was a machinegun                                  because           if   I   were            to



       5        put an    M16        fire        control       in here          and          I    just put the dropin auto sear in the



       6        receiver        I   would be manufacturing                                   a machinegun                       because there                   is        no


       7        modifications            that          need     to    be made                to the firearm or the part itself                                       it




       8        becomes a            drop in auto sear



       9        Now    you re probably                       thinking          about              well      what about portable                            wall



     10         hangers             Those              even by the drop in auto sear                                       definition             should not



     11         have been a machinegun                                 Now         remember                           this is their opinions                    again



     12         and they changed                       their opinion            because the portable                                      wall   hanger


     13         needed       to     be modified                in order to             fit       inside your receiver                            Therefore



     14         modification          needs             to    happen            Therefore                       it   is   not a drop in auto sear



     15         but they considered                      it   a drop in auto sear                            for whatever                   reason             Again



     16         they re just enforcing                        their   own       opinion and they changed their opinion



     17         failed to notify         anybody they changed                                      their opinion                      I   mean maybe


     18         they sent this guy letters and                             was         like             Hey we             have now changed our


     19         opinion about this particular product                                              and maybe he                           just blatantly



     20         ignored      them            I   don t know                I   m not             that       guy           But   I   would assume                     if   the



     21         ATF   sent          me   a   letter          and was           like      Hey                your product                   is   a machinegun


     22         you should probably stop                             selling      it          I   would immediately stop                               selling            it




     23         like instantly           Even           if    people ordered                       it   I   d    cancel         all       the orders return



     24         the   money back                  to   them           So   I    have             to     assume             they never informed the



     25         guy   that they          changed               their opinion                     which           is   crazy because                   now he s
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                                                                                                                                                                            4

       1        being persecuted                     by our government                            for following                what           their opinion



       2        was     before              So     they change their opinion in the middle of the night and



       3        now     they re persecuting                         him          It   sa    bad        situation               He        should not be in



       4        jail   right     now         Sorry            I   kind of went              off       in the     weeds


       5        All    right      Now we             got dimpling                      I   don    t   quite understand                        where the


       6        disconnect              was        with Troy Industries because                                      they ve had dimpling a



       7        long time before the                          XM117 E2 came                       out         Cause             uh there was an                            AK

       8        company           that       would dimple where                             to   drill    your holes for your                         fire    control



       9        group and they were                           like    no         that is not             an 80 percent                       receiver        because


     10         you have the dimpling there                                      That shows intent because they don                                                t   look



     11         at percentages                   of receivers                 They look                at this is          a   receiver              this is not



     12         There s no middle ground                                   And         they said because                       it       was       dimpling in



     13         the receiver                that    showed            intent           that they          were gonna                     drill     a hole          where


     14         they were selling                   it   with the intent for                     somebody                 to   drill         that hole



     15         therefore          that is          a    receiver



     16         Well anyway                  Troy Industries put out this                                    rifle   that      was a              clone of the



     17         XM177 E2 and                     they had a fake auto sear hole in there                                                      I   believe they



     18         did put out             a   recoil       on the       rifle           But say for example                           I    took this         rifle    right



     19         here        I   took this          hammer            I    took a punch                   I   put     it   in this general                  vicinity




     20         and     I   punched           it     That would show intent that                                     I    intend          on      drilling    that



     21         hole        therefore              that receiver             is       a machinegun


     22         So anyhoo               I   know         it   was a        really big deal                   in like       2013 and                stuff     when


     23         you were          building              a clone          rifle        you absolutely had                       to        have      that fake



     24         third pin          If   you got           that       that s           a problem               You         should probably do



     25         something about                     that          because             that is     an     NFA         item           If   I   hit   this with           a
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                                                                                                                                                                      5

       1        punch            this   would now become an                               NFA          item        It   would become property


       2        of the         shop        It   would be              I   d   have        to   send a            letter       to the     ATF       notifying



       3        them       I   have manufactured                       a machinegun


       4        Watch out             for dimpling               I   m sure there s some accidental                                       way      that     you


       5        could put a dimple in there                                Even though you didn t have the                                         intent       it




       6        looks       like     the intent              which they could prove                            in the court of law



       7        Anyway               dimpling           If   you dimple a                 third pin that is                   a machinegun                  And


       8        then the biggest one of                         all   is      intent          You       are far more                likely       to get



       9        caught up on intent over actually having a physical machinegun                                                                            So


     10         what would be an example                                  of this             So       in   my     Geissele trigger one                     I   had


     11         ordered an              M16       auto sear had                    it    sent to        my     house            Not the shop                I   had


     12         it   sent to         my    house             So why           could       I   do       this        Because           I   do not have


     13         intent         to manufacture                  a machine gun                       This       is   a piece          of metal



     14         Now        let   s   pretend you did order                          some         sort of questionable                        part    and sent


     15         it   to your         house        whether that s a three position selector                                               an auto sear


     16         who            whatever           the reason               and the ATF shows up and you say


     17         something along the                          lines of         I    just       want those                parts laying             around so           if




     18         the zombie apocalypse                           ever happens                       I   can make a machinegun                              and


     19         shoot zombies                     I   don t have any                    intent     of doing             it   now     but     I   just   want


     20         those parts just in case                              Well         you ve        just given                  them   intent



     21         Remember                  if    the   ATF shows up                      at your         house and they immediately


     22         don    t   shoot your dog                     kick    in your door                 and        cuff      you     they do not have



     23         enough            to charge            you      If    they        show up and                  they start asking questions



     24         breathe a sigh of                     relief     That         is   the best             news you              could ever get                After



     25         you breathe your sigh                          of relief           hit   on Are you detaining                            me          No
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                                                                                                                                                                                 6

       1        Okay                 Do you have a                     warrant                         No          No         you don t got one                    of those



       2        either              Then we re done here                                    I     am         not answering             any questions


       3        without              a lawyer


       4        Those are the only words you should ever speak                                                                      Are you                detaining



       5        me             Do you have a                  warrant                       I   will        not answer any questions without                                     a


       6        lawyer                That s   it    And                   if   they haven                   t   already arrested you                      they     will     go


       7        away                Remember             there s no point in talking to you                                              if   they already have



       8        what they need                 to arrest                        you      they           will     immediately arrest you                            So   if




       9        they re at your door asking questions                                                            shut your mouth



     10         Oh         where are         we      here                       Oh       once a machinegun                             always a machine



     11         gun            The reason Brownells can                                          sell        these       is   because these are newly


     12         manufactured                 parts            They are not a machinegun                                                Let s pretend                I   take



     13         this rifle           right here      and               I     make a machinegun                                at the     shop          I   cannot



     14         unmake               that    Even              I       were            to              that hole          in with   weld             polish    it   out
                                                                                                fill




                                                         if




     15         refinish the receiver                              I       mean             obviously               if   no one knew about                    it    that     d

     16         be a           different    story         But the point                                is    that receiver          is   always a



     17         machinegun                   All    the parts inside the receiver are always a



     18         machinegun


     19         That s              why when you buy a                                 build kit             they have brand                  new      parts inside



     20         of   it        If   any   of the fire          control parts ever                                  have wear on                it    those are a



     21         machinegun                   You need                           to dispose                  of   them immediately                     You     will




     22         always have a brand                       new                    fire    control                 group inside of              like   a de milled


     23         AK 47               or a de milled Colt                          kit     They               just   buy the      parts         brand new and


     24         put       it   in there     so you            feel like                 you re              getting       the real deal              but those are



     25         brand          new        parts     If   they were ever installed in a machinegun                                                             those
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                                                                                                                                                                                     7

       1        cannot be sold to you                                      Those are machinegun                                      parts           Those are a


       2        machinegun                          If    you possess those                              parts             you now possess a


       3        machinegun                          Once a machinegun                                    always                a machinegun                       Remember


       4        that



       5        You         cannot                   the hole in                      You            cannot take a                  fire   control group                  out of a




                                             fill
       6        machinegun                   and           sell       it   because                   that is      still        a machinegun                       And     it   was


       7        another big problem                               I     had          with Geissele                     but because                   they would only



       8        sell   it    to like        SOT            holders                   that           means     that they re serializing                             it    because


       9        the only reason                           you need               to        know         my SOT                 information            is     if   you re


     10         transferring                me           an     NFA         part               Because            that part            was       manufactured                   after



     11         1986         I   could not even                            sell      it    to the general                      public       It   s   very important



     12         they never change things                                         like          Brownells being able to sell these parts



     13         because            that         would mean                           all       your    civilian            pre      86 manu                  pre         86

     14         machineguns                         could no longer be repaired                                                They would eventually go                              in



     15         disuse            Yes           when somebody buys parts                                                   for the pre           86    machinegun


     16         they are technically                            committing a felony                                       If   they were to say                      Hey        I




     17         have a pre                  86           machinegun                        I   need      to order this part                          they can t



     18         because now you ve given                                              intent          that   it   is       going in a machinegun                               which


     19         automatically                   makes             it       a machinegun                      part              which       means           it     has    to    be


     20         transferred to                      an     SOT             If   it   s     transferred to                      an   SOT      because                it   was


     21         manufactured                        after       1986            you cannot get                            it




     22         What you can do                            is   just order replacement                                         machinegun              parts from



     23         Brownells for no reason at                                           all            You re    just ordering                 them                There      s no

     24         intent           You re             just simply ordering                                them              And       then you could do a



     25         repair           but   it   s       really strange                             It   s like   the whole chicken and the egg
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                                                                                                                                                              8

       1        thing      Like you are the only one that                                 s allowed           to      do a   repair         on your


       2        pre   86    machinegun                       So     therefore            to follow the absolute                     letter       of the



       3        law     you would have                      to manufacture                this auto sear yourself with your



       4        own machine and                    put       it    in your        own machinegun                       That would be legal



       5        Ordering a premanufactured                                  part to put in your               machinegun                    again        I




       6        already went through                         that      It   was made           after         1986        because            it   has the


       7        intent   to    go      into   a machinegun                        that   makes     it    a machinegun                  part



       8        Therefore              you re not an               SOT       holder        Therefore                  you cannot purchase


       9        it    Therefore             you    just       committed a                felony    Like           I   said very strange



     10         However               you can      just           jump on Brownells or whatever and order                                           parts



     11         for   no reason whatsoever                            That would be legal                             Having the        intent          to



     12         put them in your machinegun                                  is   not legal



     13         Again      that        was    the biggest problem with Geissele                                          They were


     14         effectively           starting to            work    in     a   direction      that     if   other manufacturers



     15         were     to follow suit                all   the pre         86     machineguns               would          fall    out of



     16         disrepair          because then nobody would                               sell   the parts               Those people


     17         would not be able                  to get the parts                      Those machineguns                      would            fall   out



     18         of disrepair           and    it   d   be game over                  unless they bought                      their    own


     19         machine shop with                      their       own      machining          tools          I       believe       these are



     20         forged      so you d need a                        frickin      forge       and manufactured                         the part



     21         yourself



     22         Anyhoo            I   hope    this video             had        clarified   more questions than                        it     had


     23         raised        It   s   usually not the                case          Usually       when        I       make a        video to



     24         answer a question                      it    usually springs              up   like     50 other questions                        but    I




     25         feel like     I       was   pretty          solid   on      this   one
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                                                                                                                                      9

       1        Anyway           if   you d      like to help support             the channel      got    my   Patreon right



       2        there      I   also have             affiliate    links in the description         down       below   Just by



       3        clicking       on those          links      even    if   you don t purchase what the              link is   for   I




       4        get a   little        kickback        for   it   because you went there            off   my   channel



       5        Thank you              for watching              Don     t   forget to subscribe         Be   sure to show the



       6        sponsor a             little   bit   of love     because they ve been a major supporter                     of



       7        the channel



       8                                             CONCLUSION OF VIDEO
